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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA

CIVIL RIGHTS COMPLAINT FORM FOR
PRO SE, PRISONER LITIGANTS IN ACTIONS UNDER
28 U.S.C. § 1331 or § 1346 or 42 U.S.C. § 1983

 

Inmate ID Number: Jom 466 261 ,

“Ssc\_ Bubko Joco 46K 26 ,
(Write the full name and inmate ID

number of the Plaintiff)

G
u

(Write the full name of each
Defendant who is being sued. If the
names of all the Defendants cannot
fit in the space above, please write
“see attached” in the space and
attach an additional page with the
full list of names. Do not include
addresses here.)

 

“LED USBC FLND PN.
BCT 1321 ewi1:97 OM

NDFL Pro Se 14 (Rev 08/21) Civil Rights Complaint Prisoner
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Case No.: 3:2] CV (yyy nee emt

(To be filled in by the Clerk's Office)

Jury Trial Requested?
BYES oNO

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I. PARTIES TO THIS COMPLAINT

A. Plaintiff

Plaintiff's Name:_ Jee\ Rutke ID Number: 2epod 64241

List all other names by which you have been known:

 

 

Current Institution: — Ec am ba Conny ni
Address: _E.s¢@ Jail YO. Box IZ goo

Fensecola Fi 225 22
B. Defendant(s)

State the name of the Defendant, whether an individual, government agency,
organization, or corporation. For individual Defendants, identify the
person’s official position or job title, and mailing address. Indicate the
capacity in which the Defendant is being sued. Do this for every Defendant:

1. Defendant's Name: Escambia Coby Sh

Official Position:

 

Employed at:

 

Mailing Address:

 

Pertacola FL 22522

x4, Sued in Individual Capacity # Sued in Official Capacity

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2. Defendant's Name:

 

Official Position:

 

Employed at:

 

Mailing Address:

 

 

a Sued in Individual Capacity O Sued in Official Capacity

3. Defendant's Name:

 

Official Position:

 

Employed at:

 

Mailing Address:

 

 

Q Sued in Individual Capacity O Sued in Official Capacity
(Provide this information for all additional Defendants in this case by

attaching additional pages, as needed.)

II. BASES FOR JURISDICTION
Under 42 U.S.C. § 1983, you may sue state or local officials for the
“deprivation of any rights, privileges, or immunities secured by the
Constitution” and federal law. Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal

officials for the violation of certain Constitutional rights.

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Are you bringing suit against (check all that apply):

o Federal Officials (Bivens case) u State/Local Officials ($ 1983 case)

TI. PRISONER STATUS

Indicate whether you are a prisoner, detainee, or in another confined status:

* Pretrial Detainee o Civilly Committed Detainee
oO Convicted State Prisoner q Convicted Federal Prisoner
Oo Immigration Detainee o Other (explain below):

 

 

IV. STATEMENT OF FACTS
Provide a short and plain statement of the facts which show why you are
entitled to relief. Describe how each Defendant was involved and what each
person did, or did not do, in support of your claim. Identify when and where
the events took place, and state how each Defendant caused you harm or
violated federal law. Write each statement in short numbered paragraphs,
limited as far as practicable to a single event or incident. Do not make legal
argument, quote cases, cite to statutes, or reference a memorandum. You
may make copies of the following page if necessary to supply all the facts.

Barring extraordinary circumstances, no more than five (5) additional pages

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should be attached. Facts not related to this same incident or issue must be

addressed in a separate civil rights complaint.

 

 

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Statement of Facts Continued (Page_2, of 2 _)

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V. STATEMENT OF CLAIMS
State what rights under the Constitution, laws, or treaties of the United States
have been violated. Be specific. If more than one claim is asserted, number
each separate claim and relate it to the facts alleged in Section IV. If more than

one Defendant is named, indicate which claim is presented against which

Defendant. Demek mest oamess Fa Cite ConPlants

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VI. RELIEF REQUESTED Treak yon
State briefly what relief you seek from the Court. Do not make legal
arguments or cite to cases/ statutes. If requesting money damages (either

actual or punitive damages), include the amount sought and explain the basis

for the claims.

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ATTENTION: The Prison Litigation Reform Act (“PLRA”) does not
permit awards for punitive or compensatory damages “for mental or
emotional injury suffered while in custody without a prior showing of
physical injury or the commission of a sexual act... .” 42 U.S.C. §

1997e(e).

VII. EXHAUSTION OF ADMINISTRATIVE REMEDIES
The PLRA requires that prisoners exhaust all available administrative
remedies (grievance procedures) before bringing a case. 42 U.S.C. §
1997e(a). ATTENTION: If you did not exhaust available remedies prior

to filing this case, this case may be dismissed.

VU. PRIOR LITIGATION
ATTENTION: The “three strikes rule” of the PLRA bars a prisoner from
bringing a case without full payment of the filing fee at the time of case
initiation if the prisoner has “on three or more prior occasions, while
incarcerated or detained in any facility, brought an action or appeal in a
court of the United States that was dismissed on the grounds that it is
frivolous, malicious, or fails to state a claim upon which relief may be
granted, unless the prisoner is under imminent danger of serious physical

injury.” 28 U.S.C. § 1915(g).

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A. To the best of your knowledge, have you had any case dismissed fora
reason listed in § 1915(g) which counts as a “strike”?

oYES {NO

If you answered yes, identify the case number, date of dismissal and

court:

1. Date: Case #:

 

Court:

 

2. Date: Case #:

 

Court:

 

3. Date: Case #:

 

Court:

 

(If necessary, list additional cases on an attached page)

B. Have you filed other lawsuits in either state or federal court dealing with
the same facts or issue involved in this case?

Oo YES @NO

If you answered yes, identify the case number, parties, date filed, result

(if not still pending), name of judge, and court for each case (if more

than one):

1. Case #: Parties:

 

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Court: Judge:
Date Filed: Dismissal Date (if not pending):
Reason:

2. Case #: Parties:
Court: Judge:
Date Filed: Dismissal Date (if not pending):
Reason:

 

C. Have you filed any other lawsuit in federal court either challenging your

conviction or otherwise relating to the conditions of your confinement?

OYES ZNO

If you answered yes, identify all lawsuits:

 

 

 

 

 

 

 

 

1. Case #: Parties:
Court: Judge:
Date Filed: Dismissal Date (if not pending):
Reason:

2. Case #: Parties:
Court: Judge:
Date Filed: Dismissal Date (if not pending):
Reason:

3. Case #: Parties:

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Court: Judge:
Date Filed: Dismissal Date (ifnot pending):
Reason:

4. Case #: Parties:
Court: Judge:
Date Filed: Dismissal Date (if not pending):
Reason:

5. Case #: Parties:
Court: Judge:
Date Filed: Dismissal Date (if not pending):
Reason:

6. Case #: Parties:
Court: Judge:
Date Filed: Dismissal Date (if not pending):
Reason:

 

(Attach additional pages as necessary to list all cases. Failure to

disclose all prior cases may result in the dismissal of this case.)

IX. CERTIFICATION
1 declare under penalty of perjury that the foregoing (including all

continuation pages) is true and correct. Additionally, as required by Federal

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Rule of Civil Procedure 11, I certify that to the best of my knowledge,
information, and belief, this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly
increase the cost of litigation; (2) is supported by existing law or by a non-
frivolous argument for extending, modifying, or reversing existing law; (3) the
factual contentions have evidentiary support or, will likely have evidentiary
support after a reasonable opportunity for further investigation or discovery;

and (4) the complaint otherwise complies with the requirements of Rule 11.

I agree to timely notify the Clerk’s Office if there is any change to my mailing
address. I understand that my failure to keep a current address on file with the

Clerk’s Office may result in the dismissal of my case.

Date:_{a-7-2\_ Plaintiff's Signature: Luk Sua

Printed Name of Plaintiff: “Soe\ Ruko

 

Correctional Institution: £5 C. OO, —Sai\
Address: —£.4 00, De\ 2939 N. L Street
Pensacola, FL. %So\

I certify and declare, under penalty of perjury, that this complaint was
(check one) ¥ delivered to prison officials for mailing or o deposited in

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the prison’s mail system for mailing on the g day of OClo bes ,
202 _.

Signature of Incarcerated Plaintiff: ___%, te Lil

 

 

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